               Case 3:23-cv-05364-RJB Document 67 Filed 06/29/23 Page 1 of 7



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5                                                                 HONORABLE ROBERT J. BRYAN

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7

8                            UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
9

10    LAWRENCE HARTFORD, et al.,
11                                                              NO. 3:23-cv-05364-RJB
                             Plaintiffs,
12                                                              DEFENDANTS JOHN HORCH AND
      -vs-                                                      TONY GOLIK’S MOTION TO
13                                                              DISMISS 42 U.S.C. §1983 & §1988
14    BOB FERGUSON, in his official capacity as                 CLAIMS AND DAMAGES
      Washington State Attorney General, et al.,
15                                                              Note on Motion Calendar: 7/14/2023
                             Defendants.
16

17
                                      I.     RELIEF REQUESTED
18
             Defendants John Horch and Tony Golik, by and through their counsel of record Chief Civil
19

20   Deputy Prosecuting Attorney Leslie A. Lopez and Amanda Migchelbrink, Senior Deputy

21   Prosecuting Attorney, respectfully request dismissal, with prejudice, of all claims brought pursuant
22
     to 42 U.S.C. §1983 and 42 U.S.C. §1988 in accordance with Fed. R. Civ. P. 12(b)(6). While the
23
     Complaint challenges the constitutionality of Senate House Bill 1240 (“SHB 1240”), it fails to
24

25
     allege any facts to suggest that Defendants John Horch and Tony Golik, either personally or

26   through their roles as Clark County officials, engaged in a Second Amendment violation. For this
27   reason, all claims against Defendants John Horch and Tony Golik for damages and relief under 42
28

                                                                             CLARK COUNTY PROSECUTING ATTORNEY
     DEFENDANTS HORCH AND GOLIK’S MOTION TO DISMISS                                          CIVIL DIVISON
     42 U.S.C. §1983 & §1988 CLAIMS AND DAMAGES                              1300 FRANKLIN ST., SUITE 380 * PO BOX 5000
     (3:23-cv-05364-RJB) – 1 of 7                                                    VANCOUVER, WA 98666-5000
                                                                             (564) 397-2478 (OFFICE) / (564) 397-2184 (FAX)
               Case 3:23-cv-05364-RJB Document 67 Filed 06/29/23 Page 2 of 7



1    U.S.C. §1983 and §1988 should be dismissed.
2
                                    II.     STATEMENT OF FACTS
3
            Plaintiffs filed this lawsuit on April 25, 2023. Dkt. 1. Plaintiffs’ Complaint attempts to
4

5    challenge SHB 1240 on the basis that it allegedly violates the Second Amendment. Dkt. 1.

6    According to the Complaint, SHB 1240 was signed into law by Governor Inslee on April 25, 2023.
7    Dkt. 1, ¶26. The Complaint asserts that SHB 1240 makes it illegal for any person in Washington
8
     to manufacture, import, distribute, or sell assault weapons. Dkt. 1, ¶26.
9
            The Complaint alleges that several of the Plaintiffs (Mr. Hartford, Mr. Mitchell, Mr. Bass)
10

11   have a present intention and desire to purchase the type of weapons that are banned by SHB 1240.

12   Id., ¶64, 70, 77. The Complaint alleges that Plaintiff Sporting Systems Vancouver, Inc. has a
13   present intention and desire to sell the weapons prohibited by SHB 1240. Id., ¶81.
14
            The Complaint identifies John Horch as the Clark County Sheriff. Id., ¶20. The Complaint
15
     identifies Tony Golik as the Clark County Prosecutor. Id., ¶24. The Complaint asserts that John
16

17   Horch and Tony Golik are sued in their official capacities. Id., ¶20, 24. The Complaint alleges no

18   other facts regarding these defendants or their conduct.
19
                                           III.    AUTHORITY
20
     A.     Legal Standard
21
            The Court must dismiss a complaint as a matter of law pursuant to Fed. R. Civ. P. 12(b)(6)
22

23   where the complaint fails “to state a claim upon which relief can be granted.” A complaint “must

24   contain a ‘short and plain statement of the claim showing that the pleader is entitled to relief.’”
25
     Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009) (quoting Fed. R. Civ. P. 8(a)(2)). When considering
26
     a Rule 12(b)(6) motion to dismiss, the Court presumes all material factual allegations to be true
27

28   and draws reasonable inferences in favor of the non-moving party. Sprewell v. Golden State

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     (3:23-cv-05364-RJB) – 2 of 7                                                        VANCOUVER, WA 98666-5000
                                                                                 (564) 397-2478 (OFFICE) / (564) 397-2184 (FAX)
               Case 3:23-cv-05364-RJB Document 67 Filed 06/29/23 Page 3 of 7



1    Warriors, 266 F.3d 979, 988 (9th Cir. 2001). However, the Court is not required to accept as true
2
     any conclusory allegations of law, and unwarranted deductions of fact, or unreasonable inferences.
3
     Id.
4

5           To state a claim on which relief may be granted, Plaintiffs must go beyond an “unadorned,

6    the-defendant-harmed-me accusation[s],” “labels and conclusions,” and “naked assertions devoid
7    of further factual enhancement.” Iqbal at 678 (internal citations omitted). While legal conclusions
8
     can provide the complaint's framework, they must be supported by factual allegations. Id. at 664.
9
     Factual allegations themselves must be enough to demonstrate a plausible right to relief that is
10

11   “above the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

12          Finally, the complaint “must contain sufficient allegations of underlying facts to give fair
13   notice and to enable the opposing party to defend itself effectively” and “must plausibly suggest
14
     an entitlement to relief, such that it is not unfair to require the opposing party to be subjected to
15
     the expense of discovery and continued litigation.” AE ex rel. Hernandez v. Cnty of Tulare, 666
16

17   F.3d 631, 637 (9th Cir. 2012) (internal quotations omitted).

18   B.     The Court Should Dismiss Plaintiffs Claims for Damages and Relief Under 42
            U.S.C. §1983 & §1988 Because Plaintiffs Have Failed to State a Claim Upon Which
19
            Relief Can Be Granted
20
            The Court should dismiss, with prejudice, all 42 U.S.C. §1983 and §1988 claims brought
21
     against Defendants John Horch and Tony Golik because Plaintiffs’ Complaint fails to state a valid
22

23   claim for relief under these statutes.

24          42 U.S.C. § 1983 provides:
25
            Every person who, under color of any statute, ordinance, regulation, custom, or
26          usage, of any State ... causes to be subjected, any citizen of the United States ... to
            the deprivation of any rights, privileges, or immunities secured by the Constitution
27          and laws, shall be liable to the party injured in an action at law[.]
28

                                                                              CLARK COUNTY PROSECUTING ATTORNEY
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     (3:23-cv-05364-RJB) – 3 of 7                                                     VANCOUVER, WA 98666-5000
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                Case 3:23-cv-05364-RJB Document 67 Filed 06/29/23 Page 4 of 7



1    42 U.S.C. § 1983 “is not itself a source of substantive rights,” but rather provides “a method of
2
     vindicating federal rights elsewhere conferred.” Graham v. Connor, 490 U.S. 386, 393–94, 109
3
     S.Ct. 1865, 104 L.Ed.2d 443 (1989). 42 U.S.C. §1988 is the mechanism through which successful
4

5    civil rights litigants bringing claims under §1983 can receive an award of attorney fees. See

6    Hensley v. Eckerhart, 461 U.S. 424, 429, 103 S. Ct. 1933 (1983).
7             To plead a §1983 claim, a plaintiff must set forth facts in support of the following elements:
8
     (1) the conduct complained of must have been under color of state law, and (2) the conduct must
9
     have subjected the plaintiff to a deprivation of constitutional rights.” Jones v. Community
10

11   Redevelopment Agency of Los Angeles, 733 F.2d 646, 649 (9th Cir. 1984). “A prerequisite to

12   recovery under the Civil Rights Act, 42 U.S.C. § 1983, is that the plaintiff prove that the defendants
13   deprived him of a right secured by the Constitution and the laws of the United States.” Gomez v.
14
     Whitney, 757 F.2d 1005, 1006 (9th Cir. 1985).
15
              Liability can arise under 42 U.S.C. §1983 with respect to an individual or a government
16

17   entity. Liability against an individual defendant under §1983 can only arise upon a showing that

18   the defendant personally participated in a constitutional violation. Taylor v. List, 880 F.2d 1040,
19
     1045 (9th Cir. 1989). To show personal participation, a plaintiff must allege that a defendant “does
20
     an affirmative act, participates in another's affirmative acts, or omits to perform an act which he is
21
     legally required to do that causes the deprivation.” Leer v. Murphy, 844 F.2d 628, 633 (9th Cir.
22

23   1988).

24            A 42 U.S.C. §1983 claim against a government entity, commonly referred to as a Monell
25
     claim, requires a plaintiff to demonstrate that an official policy, custom, or pattern on the part of
26
     the government entity was the actionable cause of a constitutional injury. Tsao v. Desert Palace,
27

28
     Inc., 698 F.3d 1128, 1143 (9th Cir. 2012). A local government may only be held liable under §1983

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     (3:23-cv-05364-RJB) – 4 of 7                                                       VANCOUVER, WA 98666-5000
                                                                                (564) 397-2478 (OFFICE) / (564) 397-2184 (FAX)
               Case 3:23-cv-05364-RJB Document 67 Filed 06/29/23 Page 5 of 7



1    for acts which the government “has officially sanctioned or ordered.” City of St. Louis v.
2
     Praprotnik, 485 U.S. 112, 123, 108 S. Ct. 915 (1988) (quoting Pembaur v. City of Cincinnati, 475
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     U.S. 469, 470, 106 S. Ct. 1292 (1986)). Claims against government officials in their “official
4

5    capacity” are Monell claims. See Will v. Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989);

6    see also Kentucky v. Graham, 473 U.S. 159, 166 (1985) (“[A]n official-capacity suit is, in all
7    respects other than name, to be treated as a suit against the entity.”).
8
            The Complaint alleges that John Horch and Tony Golik are being sued in their official
9
     capacities as Clark County Sheriff and Clark County Prosecutor. Yet, the Complaint fails to state
10

11   any facts to articulate a Monell claim against Clark County. The Complaint does not identify any

12   County policy, custom, or pattern that was the actionable cause of any alleged constitutional injury
13   suffered by the Plaintiffs. The Complaint also fails to set forth any facts to suggest that Defendants
14
     John Horch and Tony Golik engaged in any conduct that deprived Plaintiffs of their rights under
15
     the Second Amendment. In fact, the complaint contains no factual allegations at all regarding either
16

17   of these defendants, other than to state their position as government officials. No amendment of

18   Plaintiffs’ claims can fix these deficiencies. Plaintiffs cannot legally hold a county prosecutor or a
19
     county sheriff responsible for the enactment of a state statute. For this reason, the Complaint fails
20
     to state a §1983 claim under Fed. R. Civ. 12(b)(6), fails to articulate a basis for damages or fees
21
     under §1988, and these claims must be dismissed with prejudice. Additionally, the Plaintiff’s
22

23   counsel should be sanctioned for including the Clark County Defendants because they were aware

24   none of those Defendants took any action under the new Washington State Law.
25
                                           IV.     CONCLUSION
26
            For the reasons set forth above, Plaintiffs’ claims for relief and damages under 42 U.S.C.
27

28
     §1983 and §1989 against Defendants John Horch and Tony Golik should be dismissed with

                                                                                CLARK COUNTY PROSECUTING ATTORNEY
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     (3:23-cv-05364-RJB) – 5 of 7                                                       VANCOUVER, WA 98666-5000
                                                                                (564) 397-2478 (OFFICE) / (564) 397-2184 (FAX)
                Case 3:23-cv-05364-RJB Document 67 Filed 06/29/23 Page 6 of 7



1    prejudice.
2
              I certify the foregoing document contains 1,416 words, in compliance with Local Civil
3
     Rules.
4

5
              Respectfully submitted this 29th day of June, 2023.
6

7

8                                                  s/ Leslie A. Lopez
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18                                                 Attorneys for Defendants, John Horch and Tony Golik

19

20

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                                                                              CLARK COUNTY PROSECUTING ATTORNEY
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     42 U.S.C. §1983 & §1988 CLAIMS AND DAMAGES                               1300 FRANKLIN ST., SUITE 380 * PO BOX 5000
     (3:23-cv-05364-RJB) – 6 of 7                                                     VANCOUVER, WA 98666-5000
                                                                              (564) 397-2478 (OFFICE) / (564) 397-2184 (FAX)
               Case 3:23-cv-05364-RJB Document 67 Filed 06/29/23 Page 7 of 7



1                                         CERTIFICATE OF SERVICE
2            I hereby certify that on June 29th, 2023, I electronically filed the foregoing document with the
3
     Clerk of the Court using the Court’s CM/ECF system which will serve a copy of such filing to all parties
4
     of record as follows:
5
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     Attorney for Plaintiffs                          Attorney for John Gese and Chad M. Enright
9
     Lyndsey Marie Downs                               Zachary J. Pekelis
10   Margaret Duncan                                   Kai A. Smith
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     Dated June 29th, 2023.
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                                                       s/ Nichole Carnes
25                                                     Nichole Carnes, Legal Assistant
26

27

28

                                                                                   CLARK COUNTY PROSECUTING ATTORNEY
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     (3:23-cv-05364-RJB) – 7 of 7                                                          VANCOUVER, WA 98666-5000
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